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 8                  United States District Court
 9                  Central District of California
10                       Western Division
11

12    KELVIN HERNANDEZ ROMAN, et al.,                      ED CV 20-00768 TJH
13                      Petitioners-Plaintiffs,
14            v.                                                 Order
15    ALEJANDRO MAYORKAS, et al.,
16                      Respondents-Defendants.
17

18         The Court has received and considered the Notice of Death of Class Member
19   Martin Vargas Arellano filed by Class Counsel on March 19, 2021, and the
20   Government’s written response filed today.
21         It is Ordered that the matter of the death of Class Member Arellano be, and
22   hereby is, Referred to the Special Master; the Special Master shall investigate the
23   death and any related issues, and, then, issue a Report and Recommendation to the
24   Court.
25

26   Date: March 23, 2021
27                                                __________________________________
28                                                       Terry J. Hatter, Jr.
                                                  Senior United States District Judge
